
10 N.Y.3d 800 (2008)
STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY, as Subrogee of SCOTT D. HINMAN, Respondent,
v.
CROYLE ENTERPRISES, INC., Doing Business as DAMIAN'S AUTOMOTIVE, Appellant.
Court of Appeals of the State of New York.
Submitted February 4, 2008.
Decided March 20, 2008.
Motion for leave to appeal dismissed upon the ground that Croyle Enterprises, Inc. must appear by attorney (see CPLR 321 [a]), and Damian Croyle, who is not an attorney, may not act as its authorized legal representative.
